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    EXHIBIT A
                      Case: 1:16-cv-00728 Document #: 1-1 Filed: 01/19/16 Page 2 of 7 PageID #:8
                                                                                                                              SP381573
                                                                               Notice of                                       Page 1 of 1

                                                                               Service of Process
Dover, DE • Los Angeles • Sacramento • Springfield, IL • Albany • New York

850 New Burton Road, Suite 201, Dover, Delaware 19904
        (302) 734-1450 Toll Free (866) 621-3524
   Fax (800) 253-5177 Email: sop@nationalcorp.com


     DATE:          January 11, 2016                                                         SENT VIA:
     TO:            William J Sichko, Jr.                                                       Email
                    PQ Corporation
                                                                                                 Federal Express
                    300 Lindenwood Dr.
                    Valleybrooke Corporate Center                                                Fascimile Transmission
                    Malvern, PA 19355                                                            Other:
                                                                                              Tracking Number:
     RE:            SERVICE OF PROCESS:                                                          775386550205
                    PQ CORPORATION


The enclosed Service of Process was received by the statutory agent in: Illinois
                                                        on the date of: January 11, 2016
                                                          received via: Personal Service

          TITLE OF ACTION:                              Gary Puhr vs. PQ CORPORATION



          COURT AND CASE NO:                            In the 20th Judicial Circuit Court in and for Will County, Illinois

                                                        Case No. 15 L -0912
                                                        Summons and Complaint


          RESPONSE REQUIRED BY:                         see documents
          NOTE:



     Sincerely,




     Andrew Lundgren, Manager - Registered Agent Services

        Please carefully review the document referenced above to confirm all information, including the Response Date, for accuracy. The
        information noted above is provided based on our review and is not a legal opinion.
        PLEASE CONSULT THE SERVICES OF A COMPETENT PROFESSIONAL ATTORNEY.
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